 Case 4:06-cr-40019-JPG          Document 873 Filed 10/23/09           Page 1 of 2      Page ID
                                           #2433



                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

         v.                                               Case No. 06-cr-40019 -JPG

 HEATHER MCDONALD,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on Defendant Heather McDonald’s pro se Motion to

Appoint Counsel (Doc. 872). On July 26, 2006, McDonald pled guilty, pursuant to a written

plea agreement, to one count of conspiracy to manufacture, distribute, and possess with intent to

distribute more than 500 grams of a mixture and substance containing methamphetamine.

Following a 2008 sentence reduction hearing, where McDonald was represented by retained

counsel, her sentenced was commuted from 121 months to 81 months due to substantial

assistance provided to the government. Now, McDonald seeks appointment of new counsel in

an effort to obtain a rehearing of the reduction of her sentence.

       McDonald’s chief concerns are that her retained counsel, John Stobbs, never discussed

any sentencing reduction issues with her and never made her aware of any reduction hearing.

However, in the Response to Government’s Motion to Reduce Sentence (Doc. 821), Stobbs

averred that he discussed the Government’s Motion to Reduce Sentence (Doc. 769) with

McDonald and that said motion was “satisfactory” to her. With respect to the hearing, one never

took place, as the Court quickly ordered reduction of McDonald’s sentence due to her apparent

satisfaction with the parties’ agreement.

       When considering reduction of one’s sentence under 28 U.S.C. § 3582(c), the Court can
 Case 4:06-cr-40019-JPG          Document 873 Filed 10/23/09             Page 2 of 2      Page ID
                                           #2434



appoint counsel but need not do so. U.S. v. Tidwell, 178 F.3d 946, 949 (7th Cir. 1999). The

Court, being fully advised of the premises, fails to see how McDonald’s concerns necessitate

further proceedings as to reduction of her sentence, especially in light of the relevant procedural

posture. Accordingly, the Court DENIES the instant motion (Doc. 872).

IT IS SO ORDERED.
DATED: October 23, 2009
                                                      s/ J. Phil Gilbert
                                                      J. PHIL GILBERT
                                                      DISTRICT JUDGE




                                                 2
